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                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF TEXAS                                            M18t46
                                       AUSTIN DIVISION                                   ZO9OCT2



 J.E.B., individually and as next friend
 to F. C. B.,                                        CIVIL NO.: 1:1 9-CV-444-LY
 Plaintiff,

 VS.

 CLAY DEAN HILL, individually and
 dlb/a SHILOH TREATMENT CENTER,
 SHILOH TREATMENT CENTER, INC.);
 JUAN J. SANCHEZ, INDIVIDUALLY
 and dlbla, SOUTHWEST KEY; AND
 SOUTHWEST KEY PROGRAMS, INC,
 Defendant.


                                                ORDER

             The Parties' Stipulation to Dismiss Without Prejudice is before the court, which having

considered the same, finds it to be well taken, and concludes that it should be GRANTED.


             It is accordingly ORDERED that this case be, and the same is hereby DISMISSED

WITHOUT PREJUDICE, provided further that Defendants do not waive any rights they may

have pursuant to Federal Rule of Civil Procedure 41(d) to seek reimbursement of all or a part of

their costs from this suit in the unlikely event that Plaintiff refiles this action. #




Signed Of      thS.)r_day       ofYOl9
                                                         UN    ED STATES        ISTRI     JUDGE




Order   to   Dismiss
